                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE

 VANDA PHARMACEUTICALS,
 INC.,


                           Plaintiff,

                 v.                         Civil Action No. 18-651-CFC

 TEVA PHARMACEUTICALS
 USA, INC., et al.,


                        Defendants.


Karen Jacobs, Derek J. Fahnestock, MORRIS, NICHOLS, ARSHT & TUNNELL
LLP, Wilmington, Delaware; Nicholas Groombridge, Eric Alan Stone, Josephine
Young, Daniel J. Klein, Jennifer Rea Deneault, Michael F. Milea,
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Kerry B. McTigue, COZEN O'CONNOR, Washington, District of Columbia; Keri
L. Schaubert, COZEN O'CONNOR, New York, New York; Derek Gretkowski,
COZEN O'CONNOR, Philadelphia, Pennsylvania

            Counsel for Defendants Apotex Inc. and Apotex Corp.
                       OPINION




December 13, 2022
Wilmington, Delaware


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       This patent infringement case arises out of separate filings of Abbreviated

New Drug Applications (ANDAs) by Defendant Teva Pharmaceuticals USA, Inc.

and by Defendants Apotex Inc. and Apotex Corp. (collectively, Apotex) with the

U.S. Food and Drug Administration (FDA) for approval to market generic versions

of Plaintiff Vanda Pharmaceuticals Inc.' s Hetlioz® drug product.

       Hetlioz® is the only FDA-approved drug indicated for the treatment ofNon-

24-hour sleep-wake disorder, a circadian rhythm sleep disorder suffered by

individuals whose biological clocks do not synchronize to a 24-hour day. Vanda

sells Hetlioz® in 20 milligram tasimelteon capsules.

       Vanda has asserted four patents. It alleges that, pursuant to 35 U.S.C.

§ 271(e)(2)(A), Defendants' ANDA submissions to the FDA constitute

infringement of claim 3 of U.S. Patent No. RE46,604 (the RE604 patent), claim 14

of U.S. Patent No 10,149,829 (the #829 patent), claim 4 of U.S. Patent No.

9,730,910 (the #910 patent), and claim 5 of U.S. Patent No. 10,376,487 (the #487

patent).

      Defendants have stipulated to infringement of claim 5 of the #487 patent.

They otherwise deny infringement and assert in their defense that the asserted

patent claims are invalid.
       I held a four-day bench trial, and, as required by Federal Rule of Civil

Procedure 52(a)(l), I have set forth separately below my findings of fact and

conclusions of law.

I.     THE STATUTORY AND REGULATORY FRAMEWORK

      The ANDA procedures out of which this case arises were established by

FDA regulations promulgated pursuant to the Federal Food, Drug, and Cosmetic

Act (FDCA), 21 U.S.C. § 301 et seq., and specifically by the so-called Hatch-

Waxman Amendments to the FDCA. Justice Kagan provided in Caraco

Pharmaceutical Laboratories, Ltd. v. Novo NordiskAIS, 566 U.S. 399 (2012), this

helpful summary of the provisions of the Amendments and the FDA regulations

that bear on this case:

                    The FDA regulates the manufacture, sale, and
             labeling of prescription drugs under a complex statutory
             scheme. To begin at the beginning: When a brand
             manufacturer wishes to market a novel drug, it must
             submit a new drug application (NDA) to the FDA for
             approval. The NDA must include, among other things, a
             statement of the drug's components, scientific data
             showing that the drug is safe and effective, and proposed
             labeling describing the uses for which the drug may be
             marketed. The FDA may approve a brand-name drug for
             multiple methods of use-either to treat different
             conditions or to treat the same condition in different
             ways.

                    Once the FDA has approved a brand
             manufacturer's drug, another company may seek
             permission to market a generic version pursuant to
             legislation known as the Hatch-Waxman Amendments.

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Those amendments allow a generic competitor to file an
abbreviated new drug application (ANDA) piggy-
backing on the brand's NDA. Rather than providing
independent evidence of safety and efficacy, the typical
ANDA shows that the generic drug has the same active
ingredients as, and is biologically equivalent to, the
brand-name drug. As we have previously recognized,
this process is designed to speed the introduction of low-
cost generic drugs to market.

        Because the FDA cannot authorize a generic drug
that would infringe a patent, the timing of an ANDA's
approval depends on the scope and duration of the
patents covering the brand-name drug. Those patents
come in different varieties. One type protects the drug
compound itself. Another kind ... gives the brand
manufacturer exclusive rights over a particular method of
using the drug. In some circumstances, a brand
manufacturer may hold such a method-of-use patent even
after its patent on the drug compound has expired.

       To facilitate the approval of generic drugs as soon
as patents allow, the Hatch-Waxman Amendments and
FDA regulations direct brand manufacturers to file
information about their patents. The statute mandates
that a brand submit in its NDA the patent number and the
expiration date of any patent which claims the drug for
which the brand submitted the NDA or which claims a
method of using such drug. And the regulations issued
under that statute require that, once an NDA is approved,
the brand provide a description of any method-of-use
patent it holds. That description is known as a use code,
and the brand submits it on FDA Form 3542 .... [T]he
FDA does not attempt to verify the accuracy of the use
codes that brand manufacturers supply. It simply
publishes the codes, along with the corresponding patent
numbers and expiration dates, in a fat, brightly hued
volume called the Orange Book (less colorfully but more
officially denominated Approved Drug Products With
Therapeutic Equivalence Evaluations).

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                    After consulting the Orange Book, a company
             filing an ANDA must assure the FDA that its proposed
             generic drug will not infringe the brand's patents. When
             no patents are listed in the Orange Book or all listed
             patents have expired (or will expire prior to the AND A's
             approval), the generic manufacturer simply certifies to
             that effect. Otherwise, the applicant has two possible
             ways to obtain approval.

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                    [One of those ways] is to file a so-called paragraph
            IV certification, which states that a listed patent "is
            invalid or will not be infringed by the manufacture, use,
            or sale of the generic drug." 21 U.S.C.
            § 355G)(2)(A)(vii)(IV). A generic manufacturer will
            typically take this path in either of two situations: if it
            wants to market the drug for all uses, rather than carving
            out those still allegedly under patent; or if it discovers, as
            described above, that any carve-out label it is willing to
            adopt cannot avoid the brand's use code. Filing a
            paragraph IV certification means provoking litigation.
            The patent statute treats such a filing as itself an act of
            infringement, which gives the brand an immediate right
            to sue [under 35 U.S.C. § 27l(e)(2)(A)]. Assuming the
            brand does so, the FDA generally may not approve the
            ANDA until 30 months pass or the court finds the patent
            invalid or not infringed. Accordingly, the paragraph IV
            process is likely to keep the generic drug off the market
            for a lengthy period, but may eventually enable the
            generic company to market its drug for all approved uses.

566 U.S. at 404-08 (irrelevant citations and internal quotation marks omitted).




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II.   FINDINGS OF FACT

      A.     The Parties

       1)    Vanda is a Delaware corporation with its principal place of business

in Washington, District of Columbia. D.I. 287 ,I 3. Vanda owns the asserted

patents. D.I. 287 ,I 1.

      2)     Teva is a Delaware corporation with its principal place of business in

New Jersey. D.I. 287 ,I 7.

      3)     Apotex Inc. is a Canadian corporation with its principal place of

business in Ontario, Canada. D.I. 287 ,I 36.

      4)     Apotex Corp. is a Delaware corporation with its principal place of

business in Florida. D.I. 287,I 36. Apotex Corp. is a wholly owned subsidiary of

Apotex Inc. D.I. 287,I 36.

      B.     The Parties' Witnesses

                 1. Vanda's Witnesses

                    a.     Fact Witnesses
      5)     Dr. Mihael Polymeropoulos is Vanda's Chief Executive Officer and

an inventor of the asserted patents. Tr. of March 28 to March 31, 2022 Trial at

98:4-5 (Polymeropoulos). Polymeropoulos owns four percent of Vanda's shares.

Tr. at 160:19-21 (Polymeropoulos).

      6)     Ravi Pandrapragada is Vanda's Associate Director of Chemistry,

Manufacturing, and Controls. Tr. at 255:21-24 (Pandrapragada).

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                   b.     Expert Witnesses

      7)     Dr. Daniel Combs is a sleep medicine physician at the Banner

University Medical Group and an Assistant Professor of Medicine at the University

of Arizona College ofMedicine. PTX 823 at 1.

      8)     Dr. Stephen C. Bergmeier is the Chair of the Department of

Chemistry and Professor of Chemistry at Ohio University and the co-founder of

Promiliad Biopharma. PTX 822 at 1-2.

      9)     Dr. Steven W. Lockley is an Associate Professor of Medicine at

Harvard Medical School, a Professor of Sleep and Chronobiology at the University

of Surrey, and a neuroscientist at Brigham and Women's Hospital. Tr. at 896:2-7

(Lockley).

      10)    Dr. Andrew Parkinson is the Chief Executive Officer ofXPD

Consulting and an Adjunct Professor of Pharmacology and Toxicology at Kansas

University Medical Center. PTX 827 at 1.

      11)    Dr. Charles A. Czeisler is the Director of the Division of Sleep

Medicine at Harvard Medical School, Chief of the Division of Sleep and Circadian

Disorders at Brigham and Women's Hospital, and a Professor of Medicine at

Harvard Medical School. PTX 824 at 2, 4. Dr. Czeisler is the chair of Vanda's

scientific advisory board and has been a consultant for Vanda since 2004. Tr. at

1212:22-1213:5 (Czeisler). He currently receives $8,500 each month from Vanda


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for his consulting services and owns shares of Vanda's stock that are collectively

worth somewhere between $1.5 and $2 million. Tr. at 1213:7-1214:4 (Czeisler).

                2. Defendants' Witnesses

                   a.        Fact Witnesses

      12)    David DeCicco is Teva's Director of Regulatory Affairs. He has held

his position at Teva for approximately three years. Tr. at 303:15-21 (DeCicco).

His responsibilities include reviewing and approving FDA submissions from

Teva's research and development and commercial facilities. Tr. at 303:34-304:1

(DeCicco).

      13)    Bisht Bhupesh Pemi Singh is an Apotex employee. Tr. at 306:10-14

(Singh). He is responsible for managing Apotex's communications with the FDA.

Tr. at 306: 17-22 (Singh).

                   b.        Expert Witnesses

      14)    Deborah Jaskot is a pharmaceutical consultant who provides

regulatory advice to generic and brand pharmaceutical companies. Tr. at 397:2-8

(Jaskot). Jaskot is an expert in the field of FDA regulations and the FDA drug

approval process. D.I. 299 ,r 1; Tr. at 396:7-12 (Jaskot). Jaskot previously worked

for Teva as Vice President of U.S. Generic Regulatory Affairs and North American

Policy. Tr. at 397:16-20 (Jaskot); DTX 399 at 1. While at Teva, Jaskot was the

primary liaison with the FDA's Office of Generic Drugs and the Office of

Pharmaceutical Science. Tr. at 398:16-20 (Jaskot); DTX 399 at 1-2.

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       15)    Dr. John Winkelman is the founder and Chief of the Sleep Disorders

Clinical Research Program at Massachusetts General Hospital and a Professor at

Harvard Medical School. Tr. at 493:15-17 (Winkelman).

       16)    Dr. Robert Pemi is a Vice President of Research & Development at

IM Therapeutics and a Principal at JMD Pharma Creativity, LLC. DTX 401 at 1.

       17)    Dr. Jonathan Emens is an Associate Professor of Psychiatry and an

Assistant Professor of Medicine at Oregon Health & Science University and a

Deputy Director of Mental Health at the VA Portland Healthcare System. DTX

397 at 1-2. I found at trial and confirm here that Dr. Emens was very credible. As

I stated at the conclusion of the trial:

              [H]is mannerism while testifying, his directness and lack
              of hesitation. He does not appear to have any source of
              bias. And so, I found his testimony to be compelling.
              And ... that's a factual finding that I'm making. And
              I'm making it today because I have had many days
              watching these witnesses, all of whom are very, very
              impressive, but his testimony in particular stuck out to
              me.

Tr. at 1258:2-10.

       18)   Dr. David Greenblatt is a Professor in the Department of Immunology

at the Tufts University School ofMedicine. DTX 398 at 1.

      C.     Non-24-Hour Sleep-Wake Disorder (Non-24)

       19)   Circadian rhythms are internal physiological and behavioral patterns

that are regulated by an endogenous pacemaker located in the suprachiasmatic

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nuclei (SCN) of the human brain. Tr. at 705:23-706:9 (Emens); PTX 815 at 17;

PTX 002 at 1-2.

      20)    In most people, including most blind people, the period generated by

the SCN is slightly longer than 24 hours. Tr. at 1182:25-1183:8 (Czeisler); JTX

145 at 2.

      21)    Non-24-hour sleep-wake disorder (Non-24), also called free-running

disorder, is a circadian rhythm disorder occurring in individuals whose 24-hour

biological clock is no longer synchronized (i.e., entrained) to the 24-hour day.

PTX 005; Tr. at 115:17-116:5 (Polymeropoulos); PTX 002 at 1; PTX 815 at 17;

JTX 084 at 3.

      22)    Doctors and other experts who study sleep disorders, refer to this lack

of synchronization as a lack of entrainment, and they use "entrainment" and

"synchronization" (and "entrain" and "synchronize") interchangeably when

discussing Non-24. See, e.g., PTX 005 at 1.

      23)    Approximately 55 to 70 percent of totally blind individuals (i.e.,

those lacking conscious light perception) suffer from Non-24.

      24)    The symptoms ofNon-24 are sleep disturbance-i.e., decreased and

poor nighttime sleep and increased daytime sleep-and lack of daytime alertness.

PTX 005 at 1; Tr. at 496:18-25, 528:20-529:7 (Winkelman); Tr. at 214:12-215:11

(Combs).


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       25)      Sleep disturbance is the main reason why patients suffering from Non-

24 seek treatment from a doctor. Tr. at 496:18-25 (Winkelman); see also PTX 815

at 17 (tasimelteon clinical report noting that "[pJoor quality or quantity of sleep

and excessive daytime sleepiness resulting from Non-24 are common complaints"

of patients).

       26)      Lack of entrainment is the only known cause ofNon-24. Tr. at

212:4-10 (Combs); Tr. at 524:15-17 (Winkelman); PTX 005.

      D.        The Goals of Non-24 Treatment

       27)      When treating a patient, doctors can choose to address the patient's

symptoms, the cause of the patient's illness, or both the symptoms and the cause.

Tr. at 496:14-498:5 (Winkelman). As Dr. Winkelman credibly testified:

                [Y]ou can treat the underlying cause or you can treat the
                symptoms. In medicine, we understand this distinction
                with patients every day .... "

 Tr. at 496: 14-17 (Winkelman).

      28)       Entrainment can be a goal ofNon-24 treatment. Tr. at 116:6-117:1

(Polymeropoulos); Tr. at 212:4-10 (Combs); Tr. at 529:15-20 (Winkelman); PTX

815 at 17.

      29)       Limiting sleep disturbances so as to increase nighttime sleep and

decrease daytime sleep can also be a goal ofNon-24 treatment. Tr. at 496: 18-25,

498:9-16, 499:8-10 (Winkelman); JTX 084 at 3, 9.


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       30)   Vanda argues, but it did not establish by a preponderance of the

evidence, that "[t]he goal in treating individuals with Non-24 is to synchronize

their circadian clock with the external light-dark cycle." D.I. 312 ~ 38 (emphasis

added). Vanda cites in support of this argument the testimony of three witnesses

(Drs. Combs, Winkelman, and Polymeropoulos) and a sentence from a clinical

study report for tasimelteon (PTX 815). But that record evidence does not

establish by a preponderance of the evidence that entrainment is necessarily the

only goal ofNon-24 treatment.

      31)    Dr. Combs, for example, testified only that entrainment can be a goal

in treating individuals with Non-24, see Tr. at 212:9-10 (Combs) ("to treat Non-

24, a goal would be to entraining the patient"), and when pressed on cross-

examination he acknowledged that tasimelteon can also be used to increase

nighttime sleep and reduce daytime sleep:

             Q .... [D]o you agree that in addition to entraining a
             Non-24 patient, that tasimelteon can also increase total
             sleep time per day and reduce total naptime per day?

             A. When patients are most symptomatic, I absolutely
             agree.

Tr. at 242:10-15 (Combs).

      32)    Dr. Winkelman similarly testified that entrainment can be a goal of

Non-24 treatment but that treating sleep disturbances is also a goal. See Tr. at

496:18-25, 498:9-16, 499:8-10 (Winkelman).

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      33)    Dr. Polymeropoulos testified that "we knew that a goal, the goal, of a

successful treatment Non-24-hour sleep-wake disorder that would be accepted by

experts would have been the demonstration of entrainment of the 24-hour circadian

rhythm." Tr. at 212:4-10 (Polymeropoulos). I find it telling that he first stated, "a

goal," before he corrected himself and said, "the goal." And I also discount Dr.

Polymeropoulos's testimony because of what I observed to be a self-serving

demeanor on the stand and because he is a named inventor with a financial interest

in the outcome of this litigation.

      34)    The sentence in the clinical study Vanda relies on reads: "The

ultimate goal in treating individuals with Non-24 is to synchronize their circadian

clock with the 24-hour day so that all of their physiology and behavior is aligned

appropriately with the 24-hour social day." PTX 815 at 17. But as Dr. Winkelman

credibly testified, the ultimate goal in a treatment is not necessarily or always the

goal of the treatment regimen. Indeed, the word "ultimate" makes clear that there

are other goals, as "ultimate" is a relative term that describes "the best or most

extreme of its kind." See Ultimate, MERRIAM-WEBSTER.COM,

https://www.merriam-webster.com/dictionary/ultimate (last visited Dec. 12, 2022).

      35)    Finally, the cited clinical study itself undermines Vanda's argument

that the sole goal ofNon-24 treatment is entrainment. The study identifies

"secondary objectives" ofNon-24 treatment that include increased nighttime sleep


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in the lower quartile of nights (LQ-nTST) and decreased daytime sleep in the upper

quartile of days (UQ-dTSD). PTX 815 at 9; Tr. at 508:3-13, 508:19-509:3

(Winkelman).

        E.    Defendants' ANDAs and Drug Labels

        36)   Tasimelteon is the active pharmaceutical ingredient in Vanda's

Hetlioz® drug product and in each of Defendants' ANDA products. D.I. 287, Ex.

1 ,-[ 106.

        37)   Teva filed ANDA No. 211601 with the FDA seeking approval for the

commercial manufacture, use, and sale of tasimelteon prior to the expiration of the

asserted patents. D.I. 287 at 44-45.

        38)   Teva's ANDA contains a certification pursuant to 21 U.S.C.

§ 355G)(2)(a)(vii)(IV) alleging that each of the asserted claims is invalid and will

not be infringed by Teva's ANDA Product. D.I. 287 at 44.

       39)    Teva delivered letters to Vanda notifying Vanda ofTeva's Paragraph

IV certifications. D.I. 287 at 44-46.

       40)    Apotex filed ANDA No. 211607 with the FDA seeking approval for

the commercial manufacture, use, and sale of tasimelteon prior to the expiration of

the asserted patents. D.I. 287 at 46-47.

       41)    Apotex's ANDA contains a Paragraph IV Certification alleging that

each of the asserted claims is invalid, and that, except for claim 5 of the #487


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patent, Apotex's ANDA Product will not infringe the asserted patents. D.I. 287 at

47.

      42)   Apotex delivered letters to Vanda notifying Vanda of Apotex's

Paragraph IV certifications. D.I. 287 at 46-49.

      43)   A drug label contains instructions for prescribers about how to use a

medication. Tr. at 211:18-21 (Combs). The intended audience for a drug label is

whoever is prescribing the medication, which in the case of tasimelteon would be

primarily sleep medicine physicians. Tr. at 211 :22-24 (Combs).

      44)   The language in Defendants' proposed labeling for each of their

respective proposed ANDA products is essentially the same in all relevant respects

to Vanda's FDA-approved Hetlioz® drug labeling. D.I. 287, Ex. 1197.

      45)   Defendants' proposed labels for tasimelteon are, in all relevant ways,

the same as the parts of Vanda's Hetlioz® label directed to the treatment ofNon-

24, pharmacokinetics, and drug-drug interactions. D.I. 287, Ex. 1 197.

      46)   Each of Defendants' ANDA products contains 20 milligrams of

tasimelteon. D.I. 287, Ex. 1 199.

      47)   Each of Defendants' labels recommends that 20 milligrams of

tasimelteon be administered one hour before bedtime, at the same time every night.

D.I. 287, Ex. 11100; JTX 030 at 2; JTX 033 at 3.




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      48)    The intended audience for Teva's proposed label is prescribers such as

physicians. Tr. at 304:7-16 (DeCicco). Teva expects prescribers of its generic

tasimelteon product to "follow what's in the labeling." Tr. at 304:17-21

(DeCicco).

      49)    The intended audience for Apotex's proposed label is prescribers. Tr.

at 307:11-14 (Singh). The purpose of Apotex's proposed label "is to guide the

physicians and to know more about the product and the molecule." Tr. at 307: 11-

14 (Singh). Apotex expects prescribers to follow the information in Apotex's label

when prescribing tasimelteon and understands that "the dosage regime is as per the

labeling that is approved for the brand and that is what we have to follow." Tr. at

307:15-19, 308:1-8 (Singh).

      50)    Defendants' labels for each of their proposed drugs state that they are

"indicated for the treatment ofNon-24-Hour Sleep-Wake Disorder (Non-24) in

adults." JTX 030 at 2; JTX 033 at 3.

      51)    Defendants' labels do not use the words "entrain," "entrainment,"

"synchronize," "synchronization," or "synchronizing."

      52)    I find credible Dr. Winkelman's testimony that defendants' labels "do

not encourage, recommend, require or promote the use of defendants' products as a

method specifically here for entraining a patient." Tr. at 495 :21-24 (Winkelman).




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      53)    Vanda argues that section 1 of Defendants' labels promotes and

encourages treating Non-24 by entraining because that section "states that

tasimelteon is indicated for the treatment ofNon-24." D.I. 311 at 21. But as noted

above, although entrainment can be a goal-and indeed the ultimate goal-ofNon-

24 treatment, it is not necessarily the only goal of such treatment.

      54)    Vanda also argues that sections 2.2 and 2.4 encourage and promote

the treatment ofNon-24 by entrainment. D.I. 311 at 22. Section 2.2 instructs

prescribers to administer 20mg of tasimelteon one hour before bedtime at the same

time every night. JTX 030 at 2; JTX 033 at 3. Section 2.4 instructs that a patient

who cannot take tasimelteon at the same time on a given night should skip that

day's dose rather than take it too early or too late. JTX 030 at 2; JTX 033 at 3. A

prescriber, however, would understand that tasimelteon induces sleepiness and for

that reason might want the patient to take tasimelteon near bedtime every night for

its soporific effect and not for entrainment. Tr. at 1210:24-1211:6 (Czeisler).

Thus, I find that sections 2.2 and 2.4 do not necessarily imply that a prescriber

should use tasimelteon to entrain the patient.

      55)    Vanda also argues that section 14.1 and Table 3 ofDefendants' labels

teach and promote the use oftasimelteon to treat Non-24 through entrainment

because they "describe[] the results seen in patients in Vanda's SET and RESET

clinical trials." D.I. 311 at 23. The description of those results, however, makes


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no mention of entrainment endpoints; instead it reports two sleep-measure

"efficacy endpoints" for "duration and timing of nighttime sleep and daytime naps

... based on [1] the 25% of nights with the least nighttime sleep, and [2] the 25%

of days with the most daytime nap time." JTX 030 at 8-9; JTX 033 at 10-11; Tr.

at 500:11-501: 1 (Winkelman). These endpoints measure the drug's effect on

symptoms of Non-24-i.e., insufficient nighttime sleep and increased daytime

sleep. Tr. at499:3-22, 500:11-501:1, 501:9-14, 503:3-504:25 (Winkelman).

      56)    I found credible Dr. Winkelman's testimony that if the intent of

Defendants' labels were to induce the treatment ofNon-24 by entrainment, one

would expect the clinical studies reported in Defendants' labels to include

entrainment endpoints such as biomarkers for "melatonin ... or cortisol or some

hormone that could represent entrainment." Tr. at 501:18-22 (Winkelman).

      57)   Accordingly, I find that Vanda failed to prove by a preponderance of

the evidence that Defendants' ANDA labels instruct, recommend, encourage,

teach, or promote the use of Defendants' tasimelteon drug products to treat Non-24

by entraining a patient to a 24-hours sleep-wake cycle.




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      F.     The Asserted Patents

                  1. The RE604 Patent

      58)    The RE604 patent, titled "Treatment of Circadian Rhythm Disorders,"

has a priority date of January 26, 2012, the filing date of U.S. Provisional Patent

Application No. 61/590,974. D.I. 287 at 50.

      59)    Vanda asserts claim 3 of the RE604 patent, which depends from

claims 1 and 2.

      60)    Claims 1, 2, and 3 read as follows:

             1. A method of entraining a patient suffering from Non-
             24 to a 24-hour sleep-wake cycle in which the patient
             awakens at or near a target wake time following a daily
             sleep period of approximately 7 to 9 hours, and
             maintaining said 24 hour sleep-wake cycle said method
             comprising: treating the patient by orally administering to
             the patient 20 mg of tasimelteon once daily before a
             target bedtime.

             2. The method of claim 1 wherein the patient is totally
             blind.

             3. The method of claim 2 wherein the tasimelteon is
             administered 0.5 to 1.5 hours before the target bedtime.

JTX 001 at 41.

                  2. The #829 Patent

      61)    The #829 patent, titled "Treatment of Circadian Rhythm Disorders,"

has a priority date of October 15, 2012, the filing date of U.S. Provisional Patent

Application No. 61/714,149. D.I. 287 at 51.


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         62)   Vanda asserts claim 14 of the #829 patent, which depends from claim

13.

         63)   Claims 13 and 14 read as follows:

               13. A method of treating a patient for a circadian rhythm
               disorder or for a sleep disorder wherein the patient is
               being treated with a strong CYP1A2 inhibitor selected
               from a group consisting of fluvoxamine, ciprofloxacin,
               and verapamil, the method comprising: (A) discontinuing
               treatment with the strong CYP1A2 inhibitor and then (B)
               treating the patient with 20 mg of tasimelteon once daily.

               14. The method of claim 13, that comprises treating the
               patient for Non-24-Hour Sleep-Wake Disorder.

JTX 003 at 35.

                  3. The #910 Patent

         64)   The #910 patent, titled "Treatment of Circadian Rhythm Disorders,"

has a priority date of November 12, 2013, the filing date of U.S. Provisional Patent

Application No. 61/903,354. D.I. 287 at 52.

         65)   Vanda asserts claim 4 of the patent, which depends from claims 1, 2,

and 3.

         66)   Claims 1, 2, 3, and 4 read as follows:

               1. A method of treating a patient for a circadian rhythm
               disorder wherein the patient is being treated with
               rifampicin, the method comprising: (A) discontinuing the
               rifampicin treatment and then (B) treating the patient
               with tasimelteon, thereby avoiding the use of tasimelteon
               in combination with rifampicin and also thereby avoiding


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               reduced exposure to tasimelteon caused by induction of
               CYP3A4 by rifampicin.

               2. The method of claim 1 that comprises treating the
               patient for Non-24-Hour Sleep-Wake Disorder.

               3. The method of claim 2 wherein the patient is light
               perception impaired (LPI).

               4. The method of claim 3 wherein treating the patient
               with tasimelteon comprises orally administering to the
               patient 20 mg of tasimelteon once daily before a target
               bedtime.

JTX 004 at 41.

                  4. The #487 Patent

         67)   The #487 patent, titled "Method of Treatment," has a priority date of

November 12, 2013, the filing date of U.S. Provisional Patent Application No.

61/903,354. D.I. 287 at 53

         68)   Vanda asserts claim 5 of the #487 patent, with depends from claims 1

and 4.

         69)   Claims 1, 4, and 5 read as follows:

               1. A method of treating a human patient suffering from a
               circadian rhythm disorder or a sleep disorder that
               comprises orally administering to the patient an effective
               dose of tasimelteon without food, wherein the effective
               dose is 20 mg/d.

               4. The method of claim 1, wherein the patient is suffering
               from a circadian rhythm disorder.



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              5. The method of claim 4, wherein the circadian rhythm
              disorder is Non-24 Disorder.

JTX 005 at 4.

       G.     The Artisan of Ordinary Skill

       70)    Initially, the parties offered competing but similar definitions of the

artisan of ordinary skill to whom the asserted patents are directed. Defendants'

artisan called for a higher level of education and more experience in conducting

clinical trials than Vanda's artisan. Compare D.I. 287 at 601-02 (Vanda's

definition) with D.I. 287 at 612 (Defendants' definition).

       71)    Before trial, however, the parties stipulated that "[e]ach Party's expert

is qualified as an expert in the relevant field" and that "[:t]or the purposes of the

infringement and invalidity analysis" of the patents asserted at trial "each expert's

opinion would be the same using either definition of a person of ordinary skill in

the art." D.I. 298 ,-r,-r 1, 4. Accordingly, I make no finding of fact with respect to

the artisan of ordinary skill.

      H.     Knowledge of an Artisan of Ordinary Skill as of January 26, 2012

                 1. Exogenous Melatonin Could Effectively Entrain Blind
                    People with Non-24

      72)    As early as 2000, it was well known among artisans of ordinary skill

that exogenous melatonin was a drug that could entrain blind patients with Non-24

to a normal 24-hour sleep-wake cycle. Tr. at 709:18-22 (Emens).



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      73)    Skilled artisans, moreover, knew the mechanism by which exogenous

melatonin achieved entrainment. Tr. at 709:23-25 (Emens).

      74)    Exogenous melatonin is a melatonin agonist that binds to the

melatonin 1 and melatonin 2 receptors, often referred to as the MTl and MT2

receptors. Tr. at 710:1-3 (Emens).

      75)    Skilled artisans knew that exogenous melatonin's binding affinities

for these receptors were what gave the drug its ability to reset or "phase shift" a

person's circadian rhythm and thereby entrain them to a normal 24-hour cycle. Tr.

at 710:1-3 (Emens).

      76)    By 2007, the use of melatonin to treat Non-24 was formally

recommended by the American Academy of Sleep Medicine. DTX 03 7 at 11; see

Tr. at 722:20-723:22 (Emens).

      77)    Prior art described the "[d]aily administration of exogenous melatonin

[a]s the current treatment of choice for this so-called 'non-24 h sleep/wake

disorder."' DTX 039 at 1.

                2. Tasimelteon is a Melatonin Agonist with Similar Properties
                   to Exogenous Melatonin

      78)    As of January 26, 2012, skilled artisans knew that tasimelteon is a

melatonin agonist with similar properties to exogenous melatonin.

      79)    Early animal studies oftasimelteon concluded that tasimelteon was "a

novel melatonin receptor agonist that may be a useful treatment for sleep disorders

                                          22
that result from disruption of circadian rhythms" in humans. JTX 091 at 1; Tr. at

725:5-726:11 (Emens).

      80)    By 2007, Vanda filed an international patent application (the #244

Publication) directed to administering tasimelteon to treat circadian rhythm

disorders and sleep disorders. DTX 041.

      81)    The #244 Publication describes tasimelteon as a "specific and potent

agonist of the MTl[] and MT2[] melatonin receptors" in the human brain and as a

compound that "demonstrates potent chronobiotic activity" in the human body.

DTX 041 at 2; see Tr. at 727:15-19 (Emens).

      82)    Other prior-art references concluded that (1) tasimelteon was like

exogenous melatonin in that both had similar binding affinities for the MTl and

MT2 receptors and could phase-shift a person's circadian rhythm and (2)

tasimelteon could therefore potentially entrain patients suffering from circadian

rhythm sleep disorders. See DTX O16 at 1 ("Tasimelteon ... is a melatonin

receptor agonist. Because of the high density of melatonin receptors in the

circadian pacemaker, the suprachiasmatic nucleus, melatonergic actions can phase-

shift circadian rhythms and promote sleep."); DTX 020 at 6 ("[T]asimelteon has

high affinity for both the MTl and MT2 receptors, both in ranges similar to that of

melatonin. Therefore, tasimelteon should be especially well suited for treatment of




                                         23
CRSDs [circadian rhythm sleep disorders]. . . . Tasimelteon has already

demonstrated its circadian phase-resetting effects.").

      83)    Vanda's CEO wrote in a 2009 article that "a phase-shifting drug, such

as tasimelteon, has therapeutic potential for circadian rhythm sleep disorders." Tr.

at 175:7-10 (Polymeropoulos).

                3. 20 mg Dosage of Tasimelteon

      84)    A skilled artisan would have known in January 2012 that Vanda

sought international patent protection in 2007 for orally administering 20

milligrams oftasimelteon, once a day, 0.5 to 1.5 hours before bedtime. DTX 041

at 25-26; Tr. at 726:12-728:6 (Emens).

      85)    As of 2010, a person of ordinary skill in the art would also have

known from the prior art that Vanda had initiated a phase III clinical trial for

tasimelteon in which totally blind subjects with Non-24 were being administered

the drug in 20 milligram doses. DTX 020 at 6; Tr. at 797:3-12, 799:8-15 (Emens).

                4. Potential Drug-Drug Interactions

      86)    Cytochrome P450 (CYP) enzymes play an important role in a

person's metabolism of drugs. Tr. at 1041 :1-25 (Greenblatt). A skilled artisan

would have known as of January 2012 that six to eight CYP enzymes are

responsible for the metabolism of nearly 90 percent of all drugs. Tr. at 1031: 18-25




                                          24
(Greenblatt); Tr. at 1147:7-13, 1147:25-1148:5 (Parkinson); see also JTX 095 at

1; DTX 009 at 2.

      87)       "Drug-drug interaction" refers to the situation where two drugs are

given together and one of them alters the metabolism of the other." Tr. at 1041:4-

5 (Greenblatt).

      88)       A skilled artisan would have been aware in January 2012 of the

FDA's requirements for in vitro testing of all new drugs to identify enzymes,

including CYP1A2 and CYP3A4, that contribute to a drug's metabolism. Tr. at

1032:23-1033:3, 1033:14-22 (Greenblatt); Tr. at 1148:6-11 (Parkinson).

      89)       Drugs that reduce another drug's metabolism and increase that drug's

plasma concentrations are known as "CYP inhibitors." Tr. at 1041 :3-15

(Greenblatt).

      90)       It was common knowledge as of January 2012 that fluvoxamine was

an inhibitor, if not the strongest inhibitor, of CYP1A2. Tr. at 1043:3-9

(Greenblatt); Tr. at 1149:3-7 (Parkinson).

      91)       Drugs that induce the expression of CYP enzymes and cause

increased metabolism and decreased plasma concentrations of another drug are

called "CYP inducers." Tr. at 1041 :3-22, 1042:9-23 (Greenblatt); see also DTX

024 at 3; DTX 009 at 4-5; JTX 095 at 3.




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       92)   It was common knowledge as of January 2012 that rifampicin (i.e.,

rifampin) was the strongest inducer ofCYP3A4. Tr. at 1043:10-17 (Greenblatt);

Tr. at 1148: 18-22 (Parkinson). Rifampin and rifampicin are synonyms. See Tr. at

39:25-40:1; Tr. at 158:6-10 (Polymeropoulos).

       93)   A skilled artisan would have been aware in January 2012 that one can

predict possible drug-drug interactions for any new drug, even before the drug

reaches the clinical phase of development. Tr. at 1149:8-1150:14 (Parkinson); see

also DTX 009 at 7.
                                                                I

       94)   A skilled artisan would have been aware in January 2012 of the prior

FDA approval of ramelteon and that tasimelteon and ramelteon bind to the same

melatonin receptors (MTl and MT2) and have similar half lives in the body. Tr. at

1035:7-18, 1037:5-18, 1040:6-19 (Greenblatt); see also DTX 016 at 3; JTX 035

at 1, 3.

       95)   Further, a skilled artisan would have looked to ramelteon as relevant

to understanding possible drug-drug interactions for tasimelteon because ramelteon

and tasimelteon are structurally similar, as both drugs have a dihydrobenzofuran

structure and a propanamide residue. Tr. at 1040:6-22 (Greenblatt); DTX 016 at

4-5.




                                        26
      96)       A skilled artisan would have known that ramelteon is metabolized by

CYP1A2 and CYP3A4. Tr. at 1038:25-1039:13, 1040:6-24 (Greenblatt); Tr. at

1156:6-10 (Parkinson); see also JTX 093 at 4; JTX 035 at 2, 10.

      97)       A skilled artisan also would have known that ramelteon' s in vivo

metabolism resulted in large drug-drug interactions with fluvoxamine (CYP1A2

inhibitor) and rifampin (CYP3A4 inducer).

      98)       A skilled artisan would have known in January 2012 that ramelteon

underwent a 100-fold increase in blood plasma levels when it was co-administered

with the CYP1A2 inhibitor fluvoxamine. Tr. at 1043:18-1045:12, 1116:24-

1117:13 (Greenblatt); see also DTX 028 at 9; JTX 093 at 4. A skilled artisan

would have known that any drug-drug interaction resulting in a five-fold change in

blood plasma levels is considered "large" by FDA standards, and therefore a

skilled artisan would have viewed the ramelteon-fluvoxamine drug-drug

interaction as a "huge interaction" and clearly significant. Tr. at 1045: 15-23

(Greenblatt).

      99)       A skilled artisan also would have known in January 2012 that

ramelteon undergoes an 80 percent decrease in blood plasma levels when it is co-

administered with the CYP3A4 inducer rifampin. Tr. at 1046:5-21 (Greenblatt);

see also JTX 035 at 10.




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      100) Further, a skilled artisan would have been aware in January 2012 that

these well-known drug-drug interactions for ramelteon are reflected in its FDA-

approved label, which discloses that ramelteon and fluvoxamine should not be co-

administered. Tr. at 1045:24-1046:3, 1116:24-1117:13 (Greenblatt); JTX 035 at

8, 10; JTX 093 at 4. A skilled artisan would also have known at the time that co-

administration of ramelteon with rifampin decreases ramelteon's exposure and thus

its efficacy. Tr. at 1046:5-1047:5, 1116:24-1117:13 (Greenblatt); see also JTX

035 at 10; JTX 093 at 4.

      I.     Prior Art

                1. Hack

      101) Hack is a scientific article titled "The Effects of Low-Dose 0.5-mg

Melatonin on the Free-Running Circadian Rhythms of Blind Subjects." JTX 146.

      102) Hack was published in 2003 and therefore qualifies as prior art to the

asserted patents. JTX 146; Tr. at 718:24-719:15 (Emens).

      103) Hack discloses a study in which low dosages of exogenous melatonin

administered to blind patients with Non-24 resulted in successful entrainment to

24-hour sleep-wake cycles. JTX 146 at 1; Tr. at 719:16-20, 804:8-20 (Emens).

      104) Hack further discloses that these patients slept an average of 6.6 hours

per night, with a standard deviation of 1.1 hours. JTX 146 at 6; Tr. at 804:21-




                                        28
805:5 (Emens). Thus, Hack teaches that some of these patients slept between 7

and 9 hours.

      105) Hack explains that "[t]he aim of developing melatonin treatment

regimens to entrain the underlying circadian oscillator is to optimally treat the

clinical 'non-24-h sleep-wake disorder' condition that develops as a result of

misalignment of the circadian system with the social 24-h day." JTX 146 at 8.

      106) Hack states that "several recent studies have reexamined the ability of

melatonin to entrain free-running rhythms in totally blind people and found that

entrainment could be achieved following daily oral melatonin treatment" with

doses including 5, 10, and 0.5 milligrams of melatonin. JTX 146 at 2.

      107) Hack also states that "[p]revious studies have shown that chronic

usage of melatonin is necessary for free-running blind people to remain entrained

to the 24-h day." JTX 146 at 2.

      108) Hack concludes "that a daily dose of 0.5 mg melatonin is effective at

entraining the free-running circadian systems in most of the blind subjects studied"

and that"[ o]ptimal treatment with melatonin for this non-24-h sleep disorder

should correct the underlying circadian disorder (to entrain the sleep-wake cycle)."

JTX 146 at 1.

      109) An artisan of ordinary skill would have understood from Hack in

January 2012 that exogenous melatonin can be administered to entrain a patient


                                         29
with Non-24 to a 24-hour sleep-wake cycle where the patient sleeps for

approximately seven to nine hours. Tr. at 803:8-16 (Emens).

                 2. Lankford

        110) Lankford, titled "Tasimelteon for Insomnia," is a prior art scientific

article published in 2011. DTX 020. 1 As its title suggests, Lankford discloses the

use oftasimelteon to treat insomnia. Tr. at 798:24-799:2 (Emens).

        111) Lankford discloses that tasimelteon "has high affinity for both the

MTl and MT2 receptors, both in ranges similar to that of melatonin" with "already

demonstrated ... circadian phase-resetting effects" in the clinical trial setting.

DTX 020 at 6.

        112) Lankford concludes that tasimelteon should therefore "be especially

well suited for treatment of' circadian rhythm sleep disorders (CRDs). DTX 020

at 6.




1
  Vanda argued for the first time, and only in cursory fashion, in its post-trial brief
that Lankford "is not even prior art" "because it represents Vanda's own work and
was published in May of 2011, less than a year before the priority date of the
RE604 Patent." D .I. 31 7 at 16. Vanda cited no facts to support this assertion and
it did not object at trial or before trial to the introduction of Lankford into evidence
or to Dr. Emens's reliance on Lankford as prior art. Vanda forfeited its right to
argue that Lankford does not constitute prior art by not raising it in timely fashion,
by failing to object to Lankford's admission at trial, and by the passing manner in
which it raised the argument in its post-trial brief.

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      113) Lankford discloses several clinical studies in which 20 and 50

milligram doses of tasimelteon were administered to healthy volunteers and

patients with insomnia 30 minutes before bedtime. DTX 020 at 5.

      114) Lankford also disclosed the existence of Vanda's clinical trial for

Hetlioz®, which it described as "an ongoing Phase III trial oftasimelteon in blind

people with no light perception and with non-24 h[our] sleep-wake disorder" that

is "designed to assess the effectiveness of 20 mg [of] tasimelteon." DTX 020 at 6;

Tr. at 799:8-15 (Emens).

      115) Because a person of ordinary skill in the art would understand that

Non-24 was a type of circadian rhythm disorder and that one way of "treating" a

circadian rhythm disorder was entraining the patient with a melatonin agonist to

phase shift, a person of ordinary skill in the art would understand Lankford as

teaching or suggesting that tasimelteon could likely entrain blind patients with

Non-24. Tr. at 803:17-804:7 (Emens).

                3. Hardeland

      116) Hardeland is a 2009 prior art reference titled "Tasimelteon, a

melatonin agonist for the treatment of insomnia and circadian rhythm sleep

disorders." DTX 016; Tr. at 729:21-730:2 (Emens).

      117) Hardeland discloses that "[t]he chronobiotic effects of melatonin are

predominantly exerted through its binding to the G-protein-coupled melatonin


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receptors," MTl and MT2, which Hardeland says are "located in the

suprachiasmatic nucleus (SCN), which acts as the circadian pacemaker." DTX 016

at 1.

        118) Hardeland further discloses that " [m ]elatonin has been used to treat

various circadian and sleep disorders" and that "[s]uch treatments are particularly

successful if the primary objective is to readjust the circadian phase." DTX 016 at

2.

        119) Hardeland describes tasimelteon as "a melatonin receptor agonist'' and

"an investigational melatonergic drug" that is "being developed for the treatment

of insomnia, circadian rhythm sleep disorders and depression." DTX 016 at 1-2.

        120) Hardeland states that "current knowledge indicates that tasimelteon is

suitable for phase-shifting the circadian clock." DTX 016 at 8.

        121) Hardeland states that tasimelteon "may be useful in the treatment of

sleep disturbances related to circadian rhythm sleep disorders" or "other types of

entrainment difficulties" and observes that "[t]hese properties are expected from a

melatonergic drug" and have "also [been] observed with melatonin." DTX 016 at

7.

        122) Hardeland discloses Vanda's Phase III clinical trial in which

tasimelteon was administered 30 minutes before bedtime in dosages of 20, 50, and

100 milligrams. DTX 016 at 6.


                                          32
        123) Hardeland further discloses that tasimelteon and ramelteon have

"structural similarity ... as [both] compounds share the dihydrobenzofuran

structure and the propanamide residue" DTX 0 16 at 3-4.

        124) Hardeland states that " [a] study using microsomes that overexpress

specific CYP isoenzymes suggested that tasimelteon was primarily metabolized by

the CYP1A2 ... isoenzyme[] .... " DTX 016 at 4.

        125) Hardeland also discloses that "tasimelteon is metabolized by the CYP

isoenzyme[] 1A2" and that because of that phenomenon "coadministration of any

drug that inhibits [this] isoenzyme[] should be regarded with caution." DTX 016

at 6.

        126) An artisan of ordinary skill would have understood from Hardeland as

of January 2012 that tasimelteon acts as a melatonin agonist receptor that can

phase shift the circadian clock and, through that mechanism, can treat by

entrainment circadian rhythm sleep disorders. Tr. at 730: 17-19, 811 :24-812:9

(Emens).

        12 7) A skilled artisan would also have understood from Hardeland in

January 2012 that "[e]ffective doses oftasimelteon were in th[e] 20- to 50-

milligram range" 30 minutes before bedtime. Tr. at 812:18-813:9 (Emens).




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                4. Pandi-Perumal

       128) Pandi-Perumal is a 2011 prior art reference titled "Pharmacotherapy

of Insomnia with Ramelteon: Safety, Efficacy and Clinical Applications." JTX

093.

       129) Pandi-Perumal discloses the use of ramelteon, a melatonin receptor

agonist, for the treatment of insomnia. JTX 093 at 1-2.

       130) Pandi-Perumal discloses that potential off-label uses of ramelteon

include treating circadian rhythm sleep disorders. JTX 093 at 1.

       131) Pandi-Perumal teaches that ramelteon is a melatonin receptor agonist

that specifically acts through the MTl and MT2 melatonin receptors. JTX 093 at

1-2.

       132) Pandi-Perumal reports that ramelteon was developed in part to have a

melatonin receptor agonist with a longer half-life than melatonin, which has an

approximately 30-minute half-life. JTX 093 at 3.

       13 3) Pandi-Perumal discloses that the half-life of circulating ramelteon is

one to two hours, depending on the dose. JTX 093 at 3.

       134) Pandi-Perumal teaches that ramelteon is metabolized by CYP1A2,

CYP2C19, and CYP3A4. JTX 093 at 4; Tr. at 1038:25-1039:13 (Greenblatt).

According to Pandi-Perumal, "[i]n view of the fact that ramelteon is mainly




                                         34
metabolized by CYP1A2 and CYP2Cl9, drugs that inhibit these enzymes can

considerably increase the levels of the agonist.'' JTX 093 at 4.

       135) Pandi-Perumal expressly warns that "ramelteon should not be used in

combination with fluvoxamine [or] ciprofloxacin." JTX 093 at 4.

       136) Pandi-Perumal further states that the "CYP inducer rifampin has been

shown to considerably decrease levels of both ramelteon and its metabolite M-II"

and that "[t]o avoid losses in efficacy, this and other strong upregulators of

relevant CYP enzymes should be avoided." JTX 093 at 4; Tr. at 1051 :6--11

(Greenblatt).

                5. The #244 Publication

      13 7) Vanda filed the #244 Publication (International Patent Application

Number WO 2007/137244) on May 22, 2006. DTX 041.

      138) The #244 Publication is a prior art reference because it was published

on November 29, 2007. DTX 041; Tr. at 726:12-727:8 (Emens).

      139) The #244 Publication is directed to "a method of administering MA-1

to a human subject in need thereof which comprises orally administering MA-1 to

the subject in an amount of about 10 mg to about 100 mg per day." DTX 041 at 3.

      140) The #244 Publication describes its inventive subject matter as

pertaining to the "use of the melatonin agonist herein referred to as MA-1, to treat

sleep disorders and circadian rhythm disorders." DTX 041 at 3.


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       141) MA-1 is tasimelteon. Tr. at 727:13-14 (Emens).

       142) The #244 Publication discloses that "MA-1 is a specific and potent

agonist of the MTlR and MT2R melatonin receptors in the Suprachiasmatic

nucleus (SCN), the region of the brain associated with the biological clock.

Engagement of these receptors by melatonin is believed to regulate circadian

rhythms, including the sleep/wake cycle. Consistent with its receptor binding

profile, MA-1 demonstrates potent chronobiotic activity in preclinical models of

acute phase-shifting and chronic re-entrainment." DTX 041 at 2.

       143) The #244 Publication describes several clinical studies assessing the

safety and efficacy of tasimelteon and concludes from these studies that

tasimelteon "was well-tolerated at doses of 10, 20, 50, and 100 mg." DTX 041 at

23.

       144) The #244 Publication concludes that "[a]n oral dose of about 20 to

about 50 mg [oftasimelteon] is effective in treating sleep disorders when

administered about 1/2 hour before sleep time." DTX 041 at 24.

       145) The #244 Publication explains that treatment with tasimelteon "is

continued until the patient's circadian rhythm is restored to normal, i.e., until the

patient's normal daily function is not inhibited by the underlying circadian rhythm

disorder." DTX 041 at 5-6. It goes on to state that treatment with tasimelteon




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"can continue for some time after these end points are achieved so as to lessen the

likelihood of relapse." DTX 041 at 6.

      146) Claim 5 of the #244 Publication claims administering tasimelteon "to

treat or prevent a circadian rhythm disorder or a sleep disorder." DTX 041 at 25.

Claim 8 of the #244 Publication depends from claim 7 and specifies that the

tasimelteon is "administered at about 0.5 hours prior to bedtime." DTX 041 at 25.

      14 7) Claim 9 of the #244 Publication depends from claim 8 and specifies

that the tasimelteon "is orally administered at a dose of about 20 mg/day or about

50 mg/day." DTX 041 at 26.

      148) An artisan of ordinary skill would have understood from the #244

Publication as of January 2012 that tasimelteon administered in doses of 20 to 50

milligrams about a half hour before bedtime can reset a patient's circadian clock

and cause entrainment. Tr. at 727:15-22 (Emens).

      J.    The Relevant Teachings and Suggestions of the Prior Art
            Combinations Asserted by Defendants to Invalidate Claim 3 of the
            RE604 Patent

      149) Defendants argue that claim 3 of the RE604 patent is invalid as

obvious in light of the combinations of (1) Hack, Lankford, and the #244

Publication and (2) Hack, Hardeland, and the #244 Publication.




                                        37
                1. "A method of entraining a patient suffering from Non-24 to
                   a 24-hour sleep-wake cycle in which the patient awakens at
                   or near a target wake time following a daily sleep period of
                   approximately 7 to 9 hours"

      150) The combinations of Hack, Lankford, and the #244 Publication and of

Hack, Hardeland, and the #244 Publication each teach or suggest that "entraining a

patient suffering from Non-24 to a 24-hour sleep-wake cycle in which the patient

awakens at or near a target wake time following a daily sleep period of

approximately seven to nine hours." Tr. at 803:8-16; 811 :24-812:1 (Emens).

      151) As noted above, an artisan of ordinary skill would have understood in

January 2012 that Hack disclosed administering exogenous melatonin to entrain a

patient with Non-24 to a 24-hour sleep-wake cycle where the patient sleeps for

approximately seven to nine hours. Tr. at 803:8-16 (Emens). A skilled artisan

would have understood that Lankford taught or suggested at that time that

tasimelteon could likely entrain blind patients with Non-24. Tr. at 803:17-804:7

(Emens ). An artisan would have understood from Hardeland as of January 2012

that tasimelteon acts as a melatonin agonist receptor that can phase shift the

circadian clock and, through that mechanism, can treat by entrainment circadian

rhythm sleep disorders. And a skilled artisan would have known from the #244

Publication that tasimelteon administered in doses of 20 to 50 milligrams about a

half hour before bedtime can reset a patient's circadian clock and cause

entrainment. Tr. at 727:15-22 (Emens).

                                         38
                2. "and maintaining said 24-hour sleep-wake cycle"

      152) Both Hack and the #244 Publication teach maintaining a 24-hour

sleep-wake cycle. As noted above, Hack teaches that chronic usage of melatonin is

necessary for free-running blind people to remain entrained to the 24-hour day, and

the #244 Publication teaches that treatment with tasimelteon should be continued

until normal circadian rhythm is restored and that this treatment can continue for

some time to reduce the likelihood of relapse. See also Tr. at 805: 18-806: 11

(Emens).

                3. "orally administering to the patient 20 mg of tasimelteon"

      153) As noted above, the oral administration of 20 milligrams of

tasimelteon is disclosed in Lankford, Hardeland, and the #244 Publication.

                4. "0.5 to 1.5 hours before the target bedtime"

      154) As noted above, Lankford, Hardeland, and the #244 Publication all

teach the administration oftasimelteon 0.5 to 1.5 hours before the target bedtime.

                5. "wherein the patient is totally blind"

      155) As noted above, Hack and Lankford disclose treatment of blind

people. See also Tr. at 808:22-809:13 (Emens).




                                         39
      K.     Findings Relating to A Skilled Artisan's Motivation to Combine
             Defendants' Asserted Prior Art References for Claim 3 of the
             RE604 Patent and Expectation of Success

      156) I find that a skilled artisan would have been motivated to combine the

Hack and #244 Publication references with the Lankford reference, Hardeland

reference, or both references.

      157) With respect to the Hack, Lankford, and #244 Publication

combination, I base this finding on the disclosures of the references discussed

above and the following testimony of Dr. Emens, whom I found to be very

credible:

                ... [T]he Hack publication that tells me that
             melatonin can entrain individuals with Non-24. So I
             know melatonin can achieve the desired treatment effect.

                     Then I have Lankford and the [#]244 Publication
             telling me that I have a drug, tasimelteon, that's acting on
             the same types of receptors, melatonin receptors. They
             point out that it has the exact same mechanism and the
             action; namely, it can reset the timing of the biological
             clock. It can cause these phase shifts. And furthermore
             that it can cause entrainment.

                   And, finally, that it would probably be an effective
             treatment for, as they point out there, numerous circadian
             rhythm sleep disorders, such as Non-24. So I think they
             have a really clear motivation to want to combine them.

Tr. at 810:4-19 (Emens).




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       158) With respect to the combination of the Hack, Hardeland, and the #244

Publication, I base this finding on the disclosures of the references noted above and

the following testimony from Dr. Emens:

             [W]e know from Hack that melatonin can entrain blind
             individuals with Non-24. [The] [#]244 Publication and
             Hardeland tell me I have a drug, tasimelteon, that binds
             in a way similar to melatonin, can cause those same
             phase shifts as melatonin, and can be useful for
             entrainment, which, again, is what Hack had shown with
             melatonin. And so, clearly, there would have been
             motivation to combine these references.

Tr. at 813:19-814:7 (Emens).

       159) I similarly find, based on the disclosures of the references discussed

above and Dr. Emens's testimony, that an artisan of ordinary skill would have had

as of the priority date of the RE604 patent a reasonable expectation of success in

entraining a totally blind patient with Non-24 by combining the teachings of the

Hack, Lankford, and the #244 Publication. As Dr. Emens explained, "Lankford

kind of really spells it out for us" as "Lankford talks about how tasimelteon should

be especially well[-]suited for the treatment of circadian rhythm disorders. And,

again, the [#]244 Publication similarly says it should be effective in treating sleep

disorders." Tr. at 810:25-811:1-5 (Emens). Lankford's disclosure of Vanda's

Phase III trial would also have contributed to a skilled artisan's expectation of

success. As Dr. Emens explained:



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             [I]f someone is going to be spending the time and money
             to do a big Phase 3 trial, all that effort, as well as money,
             then that would say to me, and to a person of ordinary
             skill in the art, that clearly there was a reasonable
             expectation that they are going to succeed. Otherwise, I
             don't think they would have invested the time and money
             in the Phase 3 trial.

Tr. at 811:10-16 (Emens).

      160) I similarly find, based on the disclosures discussed above and the

following testimony from Dr. Emens, that a skilled artisan would have had a

reasonable expectation of success in combining the teachings of Hack, Hardeland,

and the #244 Publication to successfully entrain a totally blind patient who suffers

from Non-24:

                     ... Hardeland points out quite explicitly that
             tasimelteon should be useful for treating circadian
             rhythm sleep disorders explicitly. As well as, and, again,
             this is important, other types of entrainment difficulties.

                    So Hardeland calls out that it would be useful for
            entrainment specifically. And what's interesting is that
            Hardeland says you would expect this based on the fact
            that it's a melatonin (inaudible), meaning it's a melatonin
            agonist. So Hardeland is clearly not surprised here by
            that.

                    And also ... Hardeland concludes that, again,
            tasimelteon should be appropriate for phase shifting the
            circadian clock and resetting the time after the 24-hour
            biological clock. And, therefore, should be useful in the
            treatment of circadian rhythm sleep disorders. And then
            as I stated before, the [#]244 culls out that it should be
            effective in treating sleep disorders.


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Tr. at 814:11-815:3 (Emens).

      L.     Findings Relevant to the Prior Art Combinations Asserted by
             Defendants to Invalidate Claim 14 of the #829 Patent

      161) Defendants argue that claim 14 of the #829 patent is invalid as

obvious in light of the combinations of (1) Hack, Lankford, the #244 Publication,

and Hardeland and (2) Hack, the #244 Publication, and Hardeland.

                1. "A method of treating a patient for [Non-24-Hour Sleep-
                   Wake] disorder ... with 20 mg of tasimelteon once daily"

      162) I have already found that the combinations of ( 1) Hack, Lankford, and

the #244 Publication and (2) Hack, the #244 Publication, and Hardeland each teach

the treatment of patients with 20 milligrams oftasimelteon once daily; that a

skilled artisan would have been motivated to combine respectively these

references; and that a skilled artisan would reasonably have expected that such

treatment would succeed.

                2. "wherein the patient is being treated with a strong CYP1A2
                   inhibitor selected from a group consisting of fluvoxamine,
                   ciprofloxacin, and verapamil, the method comprising ...
                   discontinuing treatment with the strong CYP1A2 inhibitor"

      163) I have already found that Harde land discloses that tasimelteon is

primarily metabolized by CYP1A2 and that Hardeland expressly cautions against

the administration of any drug with tasimelteon that inhibits CYP1A2.

      164) An artisan of ordinary skill who intended to administer tasimelteon to

a patient who was already taking a CYP1A2 inhibitor would have expected that


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tasimelteon should not be co-administered with a CYP1A2 inhibitor and would

have heeded Hardeland's warning against co-administering tasimelteon and

CYP1A2 inhibitors, especially in light of the well-known drug-drug interaction

between ramelteon and fluvoxamine. Tr. at 1043:18-1046:4, 1116:24-1117:13

(Greenblatt); see also DTX 028 at 9; JTX 093 at 4; JTX 035 at 10. Thus, a skilled

artisan would have found it obvious to discontinue treatment of a patient with a

strong CYP 1A2 inhibitor such as fluvoxamine before treating that patient with

tasimelteon. Tr. at 1049:3-1050:19 (Greenblatt).

      M.     Findings Relevant to the Prior Art Combinations Asserted by
             Defendants to Invalidate Claim 4 of the #910 Patent

      165) Defendants argue that claim 4 of the #910 patent is invalid as obvious

in light of the combinations of (1) Hack, Lankford, the #244 Publication, and

Pandi-Perumal and (2) Hack, the #244 Publication, Hardeland, and Pandi-Perumal.

                1. "A method of treating a [light perception impaired] patient
                   for [Non-24] disorder ... with ... 20 mg of tasimelteon
                   once daily before a target bedtime"

      166) I have already found that the combinations of (1) Hack, Lankford, and

the #244 Publication and (2) Hack, the #244 Publication, and Hardeland each teach

the treatment of light perception impaired (i.e., blind) patients suffering from Non-

24 with 20 milligrams of tasimelteon once daily before a target bedtime; that a

skilled artisan would have been motivated to combine respectively these




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references; and that a skilled artisan would reasonably have expected that such

treatment would succeed.

                 2. "wherein the patient is being treated with rifampicin, the
                    method comprising: (A) discontinuing the rifampicin
                    treatment and then (B) treating the patient with
                    tasimelteon, thereby avoiding the use of tasimelteon in
                    combination with rifampicin and also thereby avoiding
                    reduced exposure to tasimelteon caused by induction of
                    CYP3A4 by rifampicin"

        167) I have already found that Pandi-Perumal teaches that (1) ramelteon is

a melatonin receptor agonist that specifically acts through the MT 1 and MT2

melatonin receptors; (2) ramelteon is metabolized by CYP3A4; (3) ramelteon

should not be used in combination with fluvoxamine or ciprofloxacin; ( 4) the CYP

inducer rifampin has been shown to considerably decrease levels of both ramelteon

and its metabolite M-II; and (5) to avoid losses in efficacy, relevant CYP enzymes

should be avoided when administering ramelteon.

        168) I have already found that an artisan of ordinary skill would have

understood in January 2012 that drug-drug interactions are predictable, and the

artisan would have looked to ramelteon to predict tasimelteon drug-drug

interactions because of the many known similarities between ramelteon and

tasimelteon, including the fact that ramelteon and tasimelteon have similar

structures, half-life durations, and affinities for melatonin receptors (MTl and

MT2).


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       169) I have already found that an artisan of ordinary skill would have

known that ramelteon is metabolized by CYP1A2 and CYP3A4, that ramelteon's

in vivo metabolism resulted in large drug-drug interactions with fluvoxamine (a

CYP1A2 inhibitor) and rifampin (a CYP3A4 inducer), that ramelteon undergoes an

80 percent decrease in blood plasma levels when it is co-administered with the

CYP3A4 inducer rifampin, and that co-administration of ramelteon with rifampin

results in decreased exposure and thus efficacy.

       170)     In light of Pandi-Perumal and the well-known similarities between

ramelteon and tasimelteon, if, as of January 2012, a skilled artisan wanted to

administer tasimelteon to a patient who was already taking the CYP3A4 rifampin,

then the artisan would have expected that tasimelteon should not be co-

administered with rifampin and would have thought it necessary and obvious to

stop treating the patient with rifampin before treating the patient with tasimelteon.

See Tr. at 1035:7-18, 1037:5-18, 1040:6-24, 1046:5-1047:5 1047:23-1048:19,

1050:20-1052:2 (Greenblatt); see also DTX 016 at 3-5; JTX 035 at 1, 3, 10; JTX

093 at 4.

      N.      Findings Relevant to the Prior Art Combinations Asserted by
              Defendants to Invalidate Claim 5 of the #487 Patent

      171)      Defendants argue that claim 5 of the #487 patent is invalid as

obvious in light of the combinations of (1) Hack, Lankford, and the #244

Publication and (2) Hack, Hardeland, and the #244 Publication.

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                1. "A method of treating a human patient suffering from [Non-
                   24] disorder ... that comprises orally administering to the
                   patient an effective dose of tasimelteon ... wherein the
                   effective dose is 20 mg/d.

      172)      I have already found that the combinations of ( 1) Hack, Lankford,

and the #244 Publication and (2) Hack, Hardeland, and the #244 Publication each

teach the treatment ofNon-24 patients with 20 milligrams oftasimelteon once

daily; that a skilled artisan would have been motivated to combine respectively

these references; and that a skilled artisan would reasonably have expected that

such treatment would succeed.

                2. "without food"

      173)      The parties stipulated that for purposes of the #487 patent, "without

food" means "the patient has not consumed food within 30 minutes prior to

administration of tasimelteon and does not consume food with the administration

oftasimelteon." D.I. 183 at 3.

      174)      The #244 Publication, Hardeland, and Lankford each disclose

administration oftasimelteon 30 minutes before bedtime. See DTX 016 at 6; DTX

041 at 24; DTX 020 at 5.

      175)     Dr. Emens testified credibly that "it's more likely than not" that an

artisan of ordinary skill who was administering tasimelteon within 3 0 minutes of

the patient's bedtime would do so "without food" and that it would have been

obvious to an artisan of ordinary skill to administer tasimelteon without food 30

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minutes before bedtime. Tr. at 803:5-23 (Emens).

      0.      Alleged Objective Indicia of Nonobviousness

       176)     Vanda argues that the nonobviousness of the asserted claims is

demonstrated by four "objective indicia"-unexpected results, long-felt need,

industry praise, and failure of others.

                 1. Alleged Unexpected Results of the RE604 Patent

                    a.     Half-Life

       177)     Vanda argues that "[t]asimelteon's relatively long half-life would

have led one of skill not to expect that tasimelteon would work for treating Non-24

by entrainment." D.I. 311 at 38. It cites Lankford in support of this assertion.

      178)      Lankford discloses that melatonin had a "short half-life" that is

"typically in the range 20 - 30 min, though sometimes less, with a maximum

period of 45 min" and that, because of its half-life, "it is unsurprising that while

melatonin has shown some effectiveness, though inconsistently, in treating sleep

onset insomnia, it has not demonstrated similar effectiveness in the treatment of

sleep maintenance type insomnia." DTX 020 at 4.

      179)      But Lankford further disclosed that "[i]n rats and monkeys, the

half-life of tasimelteon was approximately 2 h[,] which is longer than the half-life

of melatonin," and that "there has been considerable interest in developing, for the

treatment of both sleep onset and maintenance type insomnia either sustained

release forms of melatonin or melatonergic agonists with longer half-lives than
                                          48
exogenous melatonin." DTX 020 at 4.

       180)     Lankford concludes that

                the half-life of melatonin is a relatively short (20-30
                min) while the half-life oftasimelteon is apparently
                longer, at least based on animal studies. The longer
                half-life could make tasimelteon more suitable for
                treating insomnias other than just the sleep onset type.

DTX 020 at 7.

       181)     Accordingly, I find that Lankford does not demonstrate that a

skilled artisan would not have expected that tasimelteon would work for Non-24

treatment by entrainment.

       182)     On the contrary, as I found above and based on the credible

testimony of Dr. Emens, a skilled artisan as of January 2012 would have

understood Lankford as teaching or suggesting that tasimelteon could likely entrain

blind patients with Non-24.

       183)     Vanda cites the testimony of Dr. Emens and Dr. Czeisler for the

proposition that "[a] longer half-life increases the risk that tasimelteon's effects

will 'spill over' into the period when stimulation actually delays the patient's

circadian phase, thus counteracting any benefit obtained from advancing the

patient's circadian phase when the medicine is first administered." D.I. 311 at 38.

The cited testimony of Dr. Emens, however, established only that at some

undefined point a dosage of melatonin can be high enough to create "both kind of


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helpful phase advances and unhelpful phase delays" that would "counteract each

other" and accordingly fail to achieve the phase shift necessary for entrainment.

Tr. at 840:22-843:19 (Emens). Neither that testimony nor Dr. Czeisler's testimony

cause me to question my finding-based on Dr. Emens's testimony and the

disclosures in the prior art discussed above-that a skilled artisan would have

reasonably expected in January 2012 that tasimelteon would work for treating

Non-24 by entrainment. (I did not find Dr. Czeisler, especially given his

substantial financial ties to Vanda that were not disclosed until cross-examination,

to be as credible as Dr. Emens.)

                   b.     Dosage

      184)      Vanda argues " [t ]hat 20mg of tasimelteon proved efficacious was

unexpected." D.I. 311 at 38.

      185)      As made clear from my finding above, Hardeland, Lankford, and

Vanda itself in the #244 Publication, contradict this contention.

                   c.     Timing of Administration

      186)      Citing only Dr. Czeisler's trial testimony, Vanda contends that "[i]t

was unexpected that success could be obtained administering tasimelteon before

bedtime, rather than several hours earlier." D.I. 311 at 39.

      187)      As discussed above, substantial record evidence contradicts this

contention. Vanda itself stated in the #244 Publication that tasimelteon should be



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administered "about 1/2 hour before sleep time," DTX 041 at 24; see also DTX

041 at 25-26, and Vanda's prior-art clinical trial protocol instructed that

tasimelteon should be administered one hour before bedtime. See DTX 042 at 9-

10; see also DTX 020 at 5; DTX 041 at 10; DTX 016 at 5-6; Tr. at 807:13-808:20,

812:24-813:9 (Emens).

                   d.     Phase-Response Curve

      188)      Vanda argues that the absence in January 2012 (and still today) of a

phase-response curve for any dose of tasimelteon means that "it ... cannot be

determined a priori whether a given dose of tasimelteon at a given time can shift

or entrain the circadian rhythm" and thus the results claimed in the RE604 patent

were unexpected. D.I. 311 at 39. Vanda argues that this lack of phase-response

curve data is important because that data "are an important first step in determining

when and how much medicine to give." D.I. 311 at 39. This assertion is

irrelevant, as the prior art discussed above uniformly described administering

tasimelteon shortly before bedtime and also discussed the appropriate dose.

                2. Alleged Unexpected Results of the #487 Patent

      189)      Vanda argues that as of the priority date of the #487 patent, "it

would have been unexpected that administration of tasimelteon with food would

decrease its efficacy in treating Non-24." D.I. 311 at 40. But Vanda cites no

evidence adduced at trial that shows or suggests in any way what a skilled artisan



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in January 2012 would have expected when tasimelteon is administered with and

without food. Accordingly, Vanda's contention about alleged unexpected results

of administering tasimelteon without food necessarily fails. See Pfizer, Inc. v.

Apotex, Inc., 480 F.3d 1348, 1371 (Fed. Cir. 2007) (holding that "by definition,

any superior property must be unexpected to be considered as evidence of non-

obviousness" and that unexpected results "evidence must fail [it] the record is

devoid of any evidence of what the skilled artisan would have expected")

(emphasis in the original).

                3. Alleged Unexpected Results of the #910 Patent

      190)      Vanda argues that it "would have been an unexpected result as of

the priority date of the [#]910 Patent that tasimelteon should not be co-

administered with rifampicin, a strong CYP3A3 inducer." D.I. 311 at 41.

According to Vanda, "[t]he only source of original data regarding tasimelteon's

metabolism concluded '[n]o metabolism ofBMS-214778 was observed following

incubation with ... [CYP]3A4."' D.I. 311 at 41. But, as Dr. Greenblatt credibly

explained at trial, a skilled artisan aware of this source of data would not have

"exclude[d] a major role of CYP3A4 in the induced state" because "induction

causes a massive increase in the amount of enzymes," meaning "you can't exclude

a major role of CYP3A4 in the induced state even if you can't detect it in the

uninduced state." Tr. at 1116: 13-20 (Greenblatt). A skilled artisan would have


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been particularly likely to suspect a potential interaction between tasimelteon and

strong CYP3A4 inducers given the knowledge in the art that (i) the structurally

analogous compound ramelteon exhibited a "large" drug-drug interaction with

strong CYP3A4 inhibitors, Tr. at 1116:21-1117: 13 (Greenblatt), and (ii) CYP3A4

resides in the gastrointestinal tract, is the "most abundant" enzyme in the liver, and

metabolizes a large percentage of drugs. See Tr. at 1050:20-1052:2 (Greenblatt);

Tr. at 1146:19-25 (Parkinson).

      191)      In addition, for the reasons discussed above, I find that a skilled

artisan would have expected that tasimelteon should not be co-administered with

rifampin.

                4. Alleged Unexpected Results of the #829 Patent

      192)      Vanda argues:

             While here the sole piece of prior art taught that CYP1A2
             was one of the four enzymes 'primarily' responsible for
             tasimelteon in an in vitro laboratory test, the undisputed
             record evidence from both parties' experts is that a
             skilled artisan could not determine from that lone fact
             whether to avoid administering tasimelteon and a strong
             CYP1A2 inhibitor, or whether to increase or decrease the
             dose of one or the other, or whether no adjustment is
             needed. FDA draft guidelines for that decision require at
             least one more type of in vitro assay and in vivo data.

D.I. 311 at 41-42 (citations omitted).

      193)      I understand Vanda's argument to be that without in vivo tests, a

skilled artisan could not have known with certainty whether the co-administration

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oftasimelteon and strong CYP1A2 inhibitors should be avoided. That may be

true, but I will make no finding of fact to that effect because it has no bearing on

the issues before me. See Pfizer, 480 F.3d at 1364 (holding that "obviousness

cannot be avoided simply by a showing of some degree of unpredictability in the

art so long as there was a reasonable probability of success" and that "the

expectation of success need only be reasonable, not absolute").

      194)      For the reasons discussed above, I have already found that an

artisan of ordinary skill would have expected that tasimelteon should not be co-

administered with a CYP1A2 inhibitor and would have heeded Hardeland's

warning against co-administering tasimelteon and CYP1A2 inhibitors, especially

in light of the well-known drug-drug interaction between ramelteon and

fluvoxamine.

                5. Alleged Long-Felt Need of the Claimed Non-24 Treatment

      195)      Vanda argues that "[b]efore [it] invented the method of claim 3 of

the Non-24-Treatment Patent, there was a long-felt, unmet need for a safe and

effective treatment for Non-24, particularly in patients in whom melatonin was not

effective." D.I. 311 at 42.

      196)      The record evidence Vanda cites in support of this assertion does

not demonstrate a long-felt need for the treatment method claimed in claim 3 of the

RE604 patent.


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      197)      Vanda first cites Dr. Combs's testimony about an article he

authored in 2019-i.e., the year after this case was filed and seven years after the

priority date of the RE604 patent. See D.I. 311 at 42 (citing Tr. at 203:2-203:16

(Combs)). The article recounts the successful treatment of one adolescent Non-24

patient who had previously been treated unsuccessfully with melatonin. Given the

date of the article and the fact that it discusses only one patient's experience, the

article fails to show a long-felt need for the claimed treatment.

      198)      The remaining record evidence cited by Vanda, see D.I. 311 at 43,

is cursory at best and suggests at most that there was some need among Non-24

patients for whom melatonin had not worked for another drug; it does not suggest

that there was a need for a specific method of using that drug. Moreover, as Dr.

Emens credibly testified, by 2003 melatonin was viewed in the field as effective

treatment for Non-24. See Tr. at 716:2-721 :4 (Emens); Tr. at 1217:14-23

(Emens); see also JTX 146 at 1 (stating that Rack's "findings demonstrate that a

daily dose of 0.5 mg melatonin is effective at entraining the free-running circadian

systems in most of the blind subjects studied").

                6. Alleged Industry Praise for the Claimed Non-24 Treatment

      199)      Vanda points to various examples of praise it has received from

industry groups and organizations that support the blind. But it does not cite any

praise specifically directed at the treatment method claimed in the RE604 patent.


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Accordingly, I find that whatever industry praise Vanda received is of minimal

probative value with respect to the obviousness of the claimed method.

                   7. Alleged Failure of Others to Develop the Claimed Non-24
                      Treatment

      200)         Vanda argues that "melatonin researchers" had failed to

demonstrate in a large-scale study that melatonin can effectively entrain Non-24

patients and that "no one has ever entrained a patient using 20mg of melatonin[.]"

D.I. 311 at 45. But, as I have already found above, it was well-known in the field

as of 2000 that melatonin could entrain Non-24 blind patients to a normal 24-hour

sleep-wake cycle. The absence of a large-scale study does not refute that finding.

And the fact that the effective dose of tasimelteon turned out to be different than

the effective dose of melatonin is of no moment.

      201)         Vanda also argues that "BMS [Bristol Myers Squibb] failed to

develop any successful treatment using tasimelteon." D.I. 311 at 45. But Vanda

cites nothing in the record that shows that BMS ever tried to develop tasimelteon

to treat Non-24.

                   8. Alleged Failure to Recognize CYP3A4 Metabolism

      202)      Vanda argues that "BMS also failed to recognize that tasimelteon is

metabolized by CYP3A4." D.I. 311 at 46. But here again, Vanda cites no record

evidence that BMS ever tried to develop the claimed method of the #910 patent.




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III.   LEGAL STANDARDS

       A.    Direct Infringement

       Analyzing infringement involves two steps. The first step is to construe

disputed patent terms consistent with how they would be understood by an artisan

of ordinary skill. Phillips v. AWHCorp., 415 F.3d 1303, 1313 (Fed. Cir. 2005) (en

bane). The second step is to determine whether the accused products or methods

infringe the patent by comparing those products or methods to the construed

claims. Markman v. Westview Instruments, Inc., 52 F.3d 967, 976 (Fed. Cir. 1995)

(en bane), aff'd, 517 U.S. 370 (1996). The first step in the infringement analysis is

a question of law; the second is a question of fact. Glaxo, Inc. v. Novopharm, Ltd.,

110 F.3d 1562, 1565 (Fed. Cir. 1997). A patentee bears the burden of proving

infringement by a preponderance of the evidence. Envirotech Corp. v. Al George,

Inc., 730 F.2d 753, 758 (Fed. Cir. 1984).

       As noted above, § 271 (e)(2)(A) of the Patent Act defines the filing of an

ANDA with a paragraph IV certification as an act of infringement. That definition

"create[s] case or controversy jurisdiction to enable a court to promptly resolve any

dispute concerning infringement and validity" of patents listed in the Orange Book.

Glaxo, 110 F.3d at 1569. "Notwithstanding this defined act of infringement, a

district court's inquiry in a suit brought under§ 271(e)(2) is the same as it is in any

other infringement suit, viz., whether the patent in question is 'invalid or will not be



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irifringed by the manufacture, use, or sale of the drug for which the [ANDA] is

submitted."' Id. (italics and alteration in original) (underline added) (quoting 21

U.S.C. § 355G)(2)(A)(vii)(IV)). Thus, "the ultimate infringement question is

determined by traditional patent law principles and, if a product that an ANDA

applicant is asking the FDA to approve for sale falls within the scope of an issued

patent, a judgment of infringement must necessarily ensue." Sunovion Pharms.,

Inc. v. Teva Pharms. USA, Inc., 731 F.3d 1271, 1278 (Fed. Cir. 2013). By the

same token, if the product that an ANDA applicant is asking the FDA to approve

falls outside the scope of an asserted patent, a judgment of noninfringement must

follow. In short, "[w]hat [the ANDA applicant] has asked the FDA to approve as a

regulatory matter is the subject matter that determines whether infringement will

occur." Id.

      The infringement analysis in an ANDA case is most straightforward when

the ANDA's specification directly addresses the elements of the asserted claims

that are at issue. "Because drug manufacturers are bound by strict statutory

provisions to sell only those products that comport with the ANDA's description of

the drug, an ANDA specification defining a proposed generic drug in a manner

that directly addresses the issue of infringement will control the infringement

inquiry." Abbott Lab'ys v. TorPharm, Inc., 300 F.3d 1367, 1373 (Fed. Cir. 2002).




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As the Federal Circuit explained in Bayer AG v. Elan Pharmaceutical Research

Corp., 212 F.3d 1241 (Fed. Cir. 2000):

             If any of the statements in [the ANDA's] specification
             are false, [the ANDA filer] is subject to civil penalties
             and the withdrawal of the approval of its drug.
             Additionally, if [the ANDA filer] introduces a drug into
             interstate commerce without complying with the
             approval requirements of 21 U.S.C. § 355, it is subject to
             various additional penalties, including an injunction,
             criminal sanctions, seizure of the unapproved drug, and
             debarment of its corporation and individual officials from
             submitting or assisting in the submission of an ANDA in
             the future. [The ANDA filer] also would be subject to
             criminal prosecution for making false statements to the
             FDA under 18 U.S.C. § 1001, conspiring to defraud the
             United States under 18 U.S.C. § 371, and obstructing
             proceedings before a federal agency under 18 U.S.C.
             § 1501. If [the ANDA filer] changes its ANDA, it must
             file the changes with the FDA, and if the changes are to
             the drug's specification, [the ANDA filer] must obtain
             approval for the changes before they can be made.

      Id. at 1249-50 (citations omitted). Because of these statutory and regulatory

requirements and the consequences that flow from failing to abide by them, courts

"cannot assume that [an ANDA filer] will not act in full compliance with its

representations to the FDA." In re Brimonidine Pat. Litig., 643 F.3d 1366, 1378

(Fed. Cir. 2011).

      This principle that an ANDA filer is bound by the representations and

specifications in its ANDA is central to the infringement inquiry. And if an

ANDA specification describes a product that either necessarily infringes an


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asserted patent or necessarily does not infringe the patent, the specification dictates

the outcome of the infringement analysis. See Perring B. V. v. Watson Lab 'ys, Inc-

Fla., 764 F.3d 1401, 1408 (Fed. Cir. 2014) ("In some cases, the ANDA

specification directly resolves the infringement question because it defines a

proposed generic product in a manner that either meets the limitations of an

asserted patent claim or is outside the scope of such a claim."); Elan, 212 F.3d at

1249 (finding that an ANDA specification that clearly defined a noninfringing

product "mandate[ d] a finding of no literal infringement").

      When the ANDA specification does not answer the question of

infringement, "[t]he relevant inquiry is whether the patentee has proven by a

preponderance of the evidence that the alleged infringer will likely market an

infringing product." Glaxo, 110 F.3d at 1570. In such cases, "[w]hat is likely to

be sold, or, preferably, what will be sold, will ultimately determine whether

infringement exists." Id.

      B.     Induced Infringement

      "Whoever actively induces infringement of a patent shall be liable as an

infringer." 3 5 U.S.C. § 271 (b ). A finding of inducement requires establishing an

underlying act of direct infringement, the defendant's knowledge of or willful

blindness with respect to the direct infringement, and that the defendant's specific

intent was to encourage the acts that constituted direct infringement. See DSU


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Med. Corp. v. JMS Co., 471 F.3d 1293, 1303, 1306 (Fed. Cir. 2006) (en bane in

relevant part).

       C.     Obviousness

       Under§ 103 of the Patent Act, a patent "may not be obtained ... if the

differences between the subject matter sought to be patented and the prior art are

such that the subject matter as a whole would have been obvious at the time the

invention was made to a person having ordinary skill in the art to which said

subject matter pertains." 35 U.S.C. § 103 (2006).

       As the Supreme Court explained in the seminal case Graham v. John Deere

Co., 383 U.S. 1 (1966), under§ 103, "[a]n invention which has been made, and

which is new in the sense that the same thing has not been made before, may still

not be patentable if the difference between the new thing and what was known

before is not considered sufficiently great to warrant a patent." Id. at 14. Section

103 ensures that "the results of ordinary innovation are not the subject of exclusive

rights under the patent laws." KSR lnt'l Co. v. Teleflex Inc., 550 U.S. 398, 427

(2007). "Were it otherwise patents might stifle, rather than promote, the progress

of useful arts." Id. (citing U.S. Const. art. I,§ 8, cl. 8).

      The Court reaffirmed in KSR that the "framework" set out in the following

paragraph from Graham governs the application of§ 103, id. at 406:

              While the ultimate question of patent validity is one of
              law, the[§] 103 condition [of patentability] ... lends

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             itself to several basic factual inquiries. Under[§] 103,
             the scope and content of the prior art are to be
             determined; differences between the prior art and the
             claims at issue are to be ascertained; and the level of
             ordinary skill in the pertinent art resolved. Against this
             background, the obviousness or nonobviousness of the
             subject matter is determined. Such secondary
             considerations as commercial success, long felt but
             unsolved needs, failure of others, etc., might be utilized
             to give light to the circumstances surrounding the origin
             of the subject matter sought to be patented. As indicia of
             obviousness or nonobviousness, these inquiries may have
             relevancy.

Graham, 383 U.S. at 14-15 (citations omitted).

      It is clear that under this framework, a district court must consider in an

obviousness inquiry the three primary factors identified by the Court in Graham:

(1) the scope and content of the prior art, (2) the differences between the prior art

and the claims at issue, and (3) the level of ordinary skill in the pertinent art. Less

clear is the role, if any, secondary considerations should play in the analysis.

      The logical-some would say necessary-implication of the Court's use of

the word "secondary" in Graham and its holding that the secondary considerations

"might be utilized" and "may have relevancy" is that a district court is permitted-

but not required in all cases-to examine such considerations in evaluating an

obviousness-based invalidity challenge. The Court seemed to confirm as much in

KSR, when it noted that "Graham set forth a broad inquiry and invited courts,




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where appropriate, to look at any secondary considerations that would prove

instructive." KSR, 550 U.S. at 415 (emphasis added).

      But a district court ignores Graham's "invitation" to examine secondary

considerations at its peril. One legal scholar, Harmon, has observed that under

Federal Circuit law "[w]e are able now safely to strike the 'may' in the ...

sentence" in Graham in which the Court stated that secondary "indicia of

obviousness and nonobviousness ... may have relevancy." Robert Harmon,

Cynthia Homan, Laura Lydigsen, Patents and the Federal Circuit 245 (13th ed.

2017). Harmon correctly notes that "[t]he Federal Circuit has emphatically and

repeatedly held that objective evidence of non-obviousness must be taken into

account always and not just when the decisionmaker is in doubt." Id. In

Stratoflex, Inc. v. Aeroquip Corp., 713 F.2d 1530 (Fed. Cir. 1983), for example, the

Federal Circuit held that "evidence rising out of the so-called 'secondary

considerations' must always when present be considered en route to a

determination of obviousness." Id. at 1538. And in In re Cyclobenzaprine

Hydrochloride Extended-Release Capsule Patent Litigation, 676 F.3d 1063 (Fed.

Cir. 2012), the Federal Circuit reaffirmed that holding, id. at 1079, and went on to

say that the Supreme Court in Graham "did not relegate ... to 'secondary status"'

the "objective factors" the Supreme Court had explicitly identified in Graham as

"secondary considerations." Id. at 1078.


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      True, less than a month after In re Cyclobenzaprine, a different Federal

Circuit panel held in Otsuka Pharmaceutical Co. v. Sandoz, Inc., 678 F.3d 1280

(Fed. Cir. 2012) that because it found that the defendants had "failed to prove that

[the challenged patent claim] would have beenprimafacie obvious over the

asserted prior art," it "need not address" the "objective evidence" of commercial

success, long felt need, and the failure of others. Id. at 1296. But the safer course

for a district court faced with an obviousness challenge is to treat Graham's

invitation to look at secondary considerations like a subpoena.

      Obviousness is assessed based on the perspective of an artisan of ordinary

skill at the time of the invention. Unigene Labs., Inc. v. Apotex, Inc., 655 F.3d

1352, 1360 (Fed. Cir. 2011). The court therefore needs to guard against "hindsight

bias" that infers from the inventor's success in making the patented invention that

the invention was obvious. In re Cyclobenzaprine, 676 F.3d at 1079. The ultimate

question in the obviousness analysis is "whether there was an apparent reason [for

an artisan of ordinary skill] to combine [at the time of the invention] the known

elements in the fashion claimed by the patent at issue." KSR, 550 U.S. at 418.

"The analysis is objective." Id. at 406. Thus, a court must determine whether an

artisan of ordinary skill "would have had reason to combine the teaching of the

prior art references to achieve the claimed invention, and ... would have had a




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reasonable expectation of success [in] doing so." In re Cyclobenzaprine, 676 F.3d

at 1069.

      The party challenging the patent's validity bears the burden of proving

obviousness by clear and convincing evidence. Id. at 1068-69. In weighing the

 Graham factors to decide whether the party has met that burden, the district court

must be guided by common sense. Wyers v. Master Lock Co., 616 F.3d 1231,

 1238 (Fed. Cir. 2010). Indeed, "the legal determination of obviousness may

include recourse to logic, judgment, and common sense, in lieu of expert

testimony." Id. at 1239. In KSR, the Supreme Court warned lower courts to avoid

"[r]igid preventative rules that deny factfinders common sense" and to employ

instead "an expansive and flexible approach" under the Graham framework. KSR,

550 U.S. at 415, 421. Thus, the district court may "reorder[] in any particular

case" the "sequence" in which it considers the Graham factors. Id. at 407. And

although a court should consider carefully the published prior art, "[t]he

obviousness analysis cannot be confined by ... overemphasis on the importance

of published articles and the explicit content of issued patents." Id. at 419.

      "[A]ny need or problem known in the field of endeavor at the time of the

invention and addressed by the patent can provide a reason for combining the

elements in the manner claimed." Id. at 420. And "[t]he combination of familiar

elements according to known methods is likely to be obvious when it does no more


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than yield predictable results." Id. at 416. "[T]he fact that a combination was

obvious to try might show that it was obvious under§ 103." Id. at 421. But a

combination is obvious to try only "[w]hen there is a design need or market

pressure to solve a problem and there are a finite number of identified, predictable

solutions" in the prior art at the time of the invention. Id. And the court must also

be mindful that "when the prior art teaches away from combining certain known

elements, discovery of a successful means of combining them is more likely to be

nonobvious." Id. at 416.

IV.   CONCLUSIONS OF LAW

      A.     Claim 3 of the RE604 Patent

                1. Infringement

      Vanda contends that Defendants' ANDA products will induce infringement

of claim 3 of the RE604 patent. Defendants dispute only that they infringe claim

3 's "entraining" and "daily sleep period of approximately 7 to 9 hours" limitations.

      I have already found as a factual matter that Vanda did not prove by a

preponderance of the evidence that Defendants' ANDA labels instruct,

recommend, encourage, teach, or promote the use of Defendants' tasimelteon drug

products to treat Non-24 by entraining a patient to a 24-hours sleep-wake

cycle. Accordingly, Vanda has failed to establish that Defendants' ANDAs will

induce the infringement of claim 3 of the RE604 patent. See Limelight Networks,

Inc. v. Akamai Technologies, Inc., 572 U.S. 915 (2014) (holding that a method

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patent "is not infringed unless all the steps are carried out" and that "inducement

liability may arise if, but only if, there is direct infringement") ( cleaned up). I

therefore need not and do not address whether Defendants' ANDA products would

induce infringement of the "daily sleep period" limitation.

                 2. Invalidity

      I also agree with Defendants that they have proved by clear and convincing

evidence that claim 3 is invalid for obviousness. As I found above as a factual

matter, each element of the claimed method was taught or suggested by two

different combinations of prior art references and an artisan of ordinary skill would

have been motivated to combine the teachings and suggestions of those references

to entrain a blind Non-24 patient with the claimed method and would have had a

reasonable expectation of success in doing so. Accordingly, I conclude as a matter

of law that claim 3 of the RE604 patent is invalid for obviousness.

      B.     Claim 14 of the #829 Patent

      I agree with Defendants that they have proved by clear and convincing

evidence that claim 14 of the #829 patent is invalid for obviousness in light of the

combinations of (1) Hack, Lankford, the #244 Publication, and Hardeland and (2)

Hack, the #244 Publication, and Hardeland. As I found above as a factual matter,

both of these combinations teach the treatment of patients with 20 milligrams of

tasimelteon once daily, that tasimelteon is primarily metabolized by CYP1A2, and



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that tasimelteon should not be co-administered with any drug that inhibits

CYP1A2. An artisan of ordinary skill who intended to administer tasimelteon to a

patient who was already taking a CYP1A2 inhibitor would have expected that

tasimelteon should not be co-administered with a CYP1A2 inhibitor and would

have heeded Hardeland's warning against co-administering tasimelteon and

CYP1A2 inhibitors, especially in light of the well-known drug-drug interaction

between ramelteon and fluvoxamine. Thus, a skilled artisan would have found it

obvious to discontinue treatment of a patient with a strong CYP1A2 inhibitor such

as fluvoxamine before treating that patient with tasimelteon. Accordingly, I

conclude as a matter of law that claim 14 of the #829 patent is invalid for

obviousness.

      Having decided that claim 14 is invalid, I need not and do not address

whether Defendants' ANDA would infringe claim 14. See Prima Tek II, L.L.C. v.

Polypap, S.A.R.L., 412 F.3d 1284, 1291 (Fed. Cir. 2005) ("[T]here can be no ...

induced infringement of invalid patent claims.")

      C.       Claim 4 of the #910 Patent

      I agree with Defendants that they have proved by clear and convincing

evidence that claim 4 of the #910 patent is invalid for obviousness in light of the

combinations of (1) Hack, Lankford, the #244 Publication, and Pandi-Perumal and

(2) Hack, the #244 Publication, Hardeland, and Pandi-Perumal. As I found above


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as a factual matter, both of these combinations teach the treatment of light

perception impaired (i.e., blind) Non-24 patients with 20 milligrams oftasimelteon

once daily before a target bedtime; that ramelteon is metabolized by CYP3A4 and

should not be used in combination with fluvoxamine or ciprofloxacin; that the

CYP inducer rifampin has been shown to considerably decrease levels of both

ramelteon and its metabolite M-II; and that to avoid losses in efficacy, relevant

CYP enzymes should be avoided when administering ramelteon. An artisan of

ordinary skill in January 2012 would have looked to ramelteon to predict

tasimelteon's drug-drug interactions because of the many known similarities

between ramelteon and tasimelteon, including the fact that ramelteon and

tasimelteon have similar structures, half-life durations, and affinities for melatonin

receptors (MTl and MT2). And in light of Pandi-Perumal and the well-known

similarities between ramelteon and tasimelteon, if, as of January 2012, a skilled

artisan had intended to administer tasimelteon to a patient who was already taking

the CYP3A4 inducer rifampin, then the artisan would have expected that

tasimelteon should not be co-administered with rifampin and would have thought it

necessary and obvious to stop treating the patient with rifampin before treating the

patient with tasimelteon. Accordingly, I conclude as a matter of law that claim 4

of the #910 patent is invalid for obviousness.




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        Having decided that claim 4 is invalid, I need not and do not address

whether Defendants' ANDA would infringe claim 4. See Prima Tek II, 412 F.3d at

1291.

        D.    Claim 5 of the #487 Patent

        I agree with Defendants that they have proved by clear and convincing

evidence that claim 5 of the #487 patent is invalid as obvious in light of the

combinations of (1) Hack, Lankford, and the #244 Publication and (2) Hack,

Hardeland, and the #244 Publication.

        As I found above as a factual matter, the combinations of (1) Hack,

Lankford, and the #244 Publication and (2) Hack, Hardeland, and the #244

Publication each teach the treatment of Non-24 patients with 20 milligrams of

tasimelteon once daily 30 minutes before bedtime. I also found that it is more

likely than not that an artisan of ordinary skill who was administering tasimelteon

within 30 minutes of the patient's bedtime would do so without food. And I found

that it therefore would have been obvious to an artisan of ordinary skill to

administer tasimelteon without food 30 minutes before bedtime.

        Whether to administer tasimelteon with food is a binary choice. A drug is

administered with or without food. "When two equally viable options are

available, as here, then, without more, either one would seem to have been

obvious." C.R. Bard, Inc. v. Medline Indus., Inc., 2021 WL 3574043, at *4 (Fed.


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Cir. Aug. 13, 2021); see also Gen. Elec. Co. v. Raytheon Techs. Corp., 983 F.3d

1334, 1350 (Fed. Cir. 2020).

      Accordingly, I conclude as a matter of law that claim 5 of the #487 patent is

invalid for obviousness.

V.    CONCLUSION

      For the reasons discussed above, I find that Defendants' ANDA products do

not infringe claim 3 of the RE604 patent and that claim 3 of the RE604 patent,

claim 4 of the #829 patent, claim 14 of the #910 patent, and claim 5 of the #487

patent are invalid.

      The Court will issue an Order directing the parties to submit a proposed

order by which the Court may enter final judgments consistent with this Opinion.




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